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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       Clarksburg


RAEQUAN BATTLE,

                        Plaintiff,

                v.                                         CIVIL ACTION NO. 1:23-CV-101
                                                           Judge Bailey

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION,

                        Defendant.



                                     ORDER DISMISSING CASE

       On March 12, 2025, the parties filed a Stipulation of Dismissal Pursuant to Rule

41(a) [Doc. 47]. In the Stipulation, the parties state the claims of plaintiff against defendant

have been fully and confidentially compromised. [Doc. 47 at 1].

       Upon consideration, this Court hereby DISMISSES WITH PREJUDICE the

above-styled action. Therefore, it is ORDERED that this civil action be retired from the

docket of this Court, subject to reopening on motion of any party, and for good cause

shown, within ninety (90) days. The Clerk is DIRECTED TO STRIKE the above-styled

action from the active docket of this Court.

       The parties need not submit any additional proposed dismissal or other final order

unless it is required by law or is necessary under the terms of any agreement resolving this

civil action.

       It is so ORDERED.


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      The Clerk is directed to transmit copies of this Order to all counsel of record herein.

      DATED: March 12, 2025.




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